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 8                         IN THE UNITED STATES DISTRICT COURT FOR THE
 9                                  EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                      )   01:06-CR-393 OWW
                                                    )
12                           Plaintiff,             )   ORDER ON GOVERNMENT’S
                                                    )   MOTION TO DISMISS
13                                                  )   (Fed. R. Crim. P. 48 (a))
                              v.                    )
14                                                  )
     PEDRO EQUIHUA VALDIVIAS,                       )
15    aka Manuel Jesus Chacon,                      )
                                                    )
16                           Defendant.             )
                                                    )
17
                                                  ORDER
18
             IT IS HEREBY ORDERED that the charges against PEDRO EQUIHUA VALDIVIAS found
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     within the indictment in this case, be dismissed with prejudice and that warrant for the defendant’s
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     arrest be recalled.
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     Dated: July 26 , 2007                                  /s/ Oliver W. Wanger
22                                                          Honorable Oliver W. Wanger
                                                            U.S. District Judge
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